 Case 1:22-mc-03696-HG-PK Document 13-14 Filed 09/28/22 Page 1 of 2 PageID #: 303
                                                Tuesday, September 27, 2022 at 13:58:23 Central Daylight Time


Subject:      Re: Rosenfeld v. AC2T - subpoena to D. Yee
Date:         Tuesday, May 17, 2022 at 12:56:42 PM Central Daylight Time
From:         Cal Mayo
To:           Boyle, Edward P.

AGachments: image001.png

Edward,

I had discussed with Anna several of the items raised in your le8er of yesterday and thought some of
the answers were even memorialized in emails. Regardless, here are the responses to your ques?ons.

Lab Books: No lab books exist with Dr. Yee. He, of course, cannot speak for the other labs involved in
the study and development of the paper.

Chain of Custody and Salt Concentra?on Documents: To the extent any informa?on exists concerning
chain of custody or salt concentra?ons, the emails with co-authors and the paper contain that
informa?on.

Funding Communica?ons: Dr. Yee received no funding for his work. He understands all authors covered
their own expenses.

Anonymous Reviewers Communica?ons: One of the documents produced to you is en?tled
“Responses to reviewers”.

“Oﬃce of Research” Communica?ons: The University does not have an “Oﬃce of Research”. Perhaps
you mean the “Oﬃce of Research Administra?on”. If so, Dr. Yee had no communica?ons with ORA
about this project because Dr. Yee did not receive any grant or government funding for the study.

Twi8er and Other Social Media Accounts: Dr. Yee has produced the responsive documents of which he
is aware. He deleted his Facebook account several years ago and has no other social media accounts.

This should resolve all issues iden?ﬁed in your le8er.

Cal


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From: "Boyle, Edward P." <EPBoyle@Venable.com>
Date: Monday, May 16, 2022 at 12:31 PM
To: Cal Mayo <cmayo@mayomalle8e.com>
Subject: Rosenfeld v. AC2T - subpoena to D. Yee

Please see attached.
************************************************************************
This electronic mail transmission may contain conﬁden?al or privileged informa?on. If
you believe you have received this message in error, please no?fy the sender by reply
transmission and delete the message without copying or disclosing it.
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